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 4
     Attorney for Defendant
 5   TERESA MARIA MORALES
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,           )                 No. 2:07-cr-0314 FCD
10                                       )
                 Plaintiff,              )                 STIPULATION AND ORDER
11                                       )                 CONTINUING STATUS CONFERENCE
           v.                            )                 AND EXCLUDING TIME
12                                       )
     TERESA MARIA MORALES,               )
13   ENRIQUE MORALES,                    )
     JOSE LUIS MORALES,                  )
14   JUAN MORALES, and PETRA             )
     PRECIADO MORALES,                   )
15                                       )
                 Defendants.             )
16   ____________________________________)
17   The parties hereby stipulate to the following:
18      1.      A status conference in this matter is now scheduled for January 28, 2008 at 10:00
19              a.m.
20      2.      This case involves an alleged complex scheme to defraud the Unemployment
21              Insurance System. At this point, approximately 1,000 pages of discovery have been
22              produced. The parties are in the process of reviewing the discovery and conducting
23              investigation necessary to prepare for trial. In light of need for attorney preparation, a
24              continuance of the status conference until March 24, 2008 is requested.
25      3.      It is stipulated by the parties that time continue to be excluded to March 24, 2008 for
26              preparation of counsel pursuant to local code T4. 18 U.S.C. 3161(h)(8)(B)(iv).
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28                                                    1
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 2
 3
         DATED: January 24, 2008          /s/ Tim Warriner
 4                                        Attorney for defendant, TERESA MARIA MORALES
 5
         DATED: January 24, 2008          /s/ Bruce Locke
 6                                        Attorney for defendant, ENRIQUE MORALES
 7
         DATED: January 24, 2008          /s/ Miguel A. Hernandez
 8                                        Attorney for defendant, JOSE LUIS MORALES
 9
         DATED: January 24, 2008          /s/ Clarence Emmett Mahle
10                                        Attorney for defendant, JUAN MORALES
11
         DATED: January 24, 2008          /s/ Donald P. Dorfman
12                                        Attorney for defendant, PETRA PRECIADO MORALES
13
         DATED: January 24, 2008          /s/ Matthew Stegman
14                                        Assistant U.S. Attorney
15
16
                                               ORDER
17
            GOOD CAUSE APPEARING, it is hereby ordered that the status conference set for
18
     January 28, 2008 be continued to March 24, 2008 at 10:00 a.m., and that time continue to be
19
     excluded to March 24, 2008 for preparation of counsel pursuant to Local Code T4, 18 U.S.C.
20
     3161(h)(8)(B)(iv).
21
 .           IT IS SO ORDERED.
22
      DATED: January 24, 2008
23
24
                                            _______________________________________
25                                          FRANK C. DAMRELL, JR.
                                            UNITED STATES DISTRICT JUDGE
26
27
28                                                  2
